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 8                    IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
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11      GWENDOLYN J. JOHNSON,               )                 1:09-CV-929 AWI DLB
                                            )
12                  Plaintiff,              )                ORDER ON MOTION FOR
              v.                            )                RECONSIDERATION OR
13                                          )                REQUEST TO FILE FIRST
        WASHINGTON MUTUAL, et al.,          )                AMENDED COMPLAINT AND
14                                          )                ORDER VACATING
                            Defendants.     )                OCTOBER 26, 2009 HEARING
15      ____________________________________)
                                                             (Doc. No. 28)
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            On September 8, 2009, this Court struck an amended complaint because it was filed
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     without permission of the Court and without consent of the parties after the ability of Plaintiff to
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     amend as a matter of right had been extinguished. See Fed. R. Civ. Pro. 15; United States ex rel.
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     Mathews v. HealthSouth Corp., 332 F.3d 293, 296 (5th Cir. 2003). On September 25, 2009,
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     Plaintiff filed a motion for reconsideration/request to file an amended complaint. Hearing on this
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     motion is set for October 26, 2009. Plaintiff explained that the stricken complaint was filed in
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     order to correct a typo in the title. Counsel for the Defendants who have appeared has stipulated
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     to allowing the filing of an amended complaint. The stipulation also allows Defendants twenty
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     (20) days in which to file a response. Given Plaintiff’s explanation and the stipulation, the Court
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     will grant leave to amend.
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 1        Accordingly, IT IS HEREBY ORDERED that:
 2   1.   Plaintiff’s motion for reconsideration/request to file an amended complaint is GRANTED
 3        and Plaintiff may file the submitted amended complaint within five (5) days of service of
 4        this order, but shall entitle the amended complaint “Second Amended Complaint;”
 5   2.   Defendants who have appeared in this case shall file a response within twenty (20) days
 6        of service of the Second Amended Complaint; and
 7   3.   The October 26, 2009, hearing is VACATED.
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 9   IT IS SO ORDERED.
10   Dated:   October 13, 2009                     /s/ Anthony W. Ishii
     0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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